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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRIC T OF FLORIDA

 

Me: Case No. 16-17809-LMI
Chapter 13
el Ribas

a ebtor(s). _/

MOTION TO ALLOW EARLY PAYOFF OF CHAPTER 13 CASE

[GIFT PROCEEDS]
Now come the Debtor, Isabel Ribas, by her counsel, and move this Court for Early Payoff

of Chapter 13 case with Gift proceeds and in support thereof submits the following:

|. Debtor filed for relief under Chapter 13 in this case and his Chapter 13 Plan was
previously confirmed,

2. The Debtor’s case is an under median case and she has already met the 36-month
commitment period.

3. The Debtor will pay off her Chapter 13 plan early with the gift proceeds from her

daughter Kenia Sanchez, upon approval.

WHEREFORE, Debtor respectfully prays that the Court issue an order

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1. Allowing the Debtor to pay off her Chapter 13 case early with gift proceeds from her
daughter.

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2. Such further relief consistent with this request for rehef.
Respectfully submitted,

REYES & CALAS-JOHNSON, PA.
Attorneys for the Debtor

782 N.W. 42°94 Avenue, Ste. 345
Miami, FL 33126

Tel: (305) 476-1900

Mary Reyes
CERTIFICATE OF SERVICE

LHEREBY CERTIFY that a true copy of the foregoing was served wpon all parties on
attached list, this 22nd day of July 2020.

 

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Mary Reyes
abel Matcix for local acticiag
ASL

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led Jul 22 10:14:08 EDT 2026

 

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(/o Quantum3 Group LLC

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‘OB 7346

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MAC X2303-G18

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SATET SERVICES INC.

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Page 2 of 4

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isabel. Ribas
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ae } above has been substituted for the following entity/entities as so specified

otice of Address

Cbna
50 Northwest Point Road
Elk Grove Village, IL 60007

filed pursuant to 11 U.S.C. 342(f) and Fed. R.Bank.P. 2002 (g} (4).

Chase Card
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